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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
v.
JOSHUA BLACK,

Defendant.

CRIMINAL NO.
MAGISTRATE NO. 21-MJ-049

VIOLATIONS:

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding and
Aiding and Abetting)

18 U.S.C. §§ 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. §§ 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. §§ 1752(a)(3) and (b)(1)(A), 2
(Impeding Ingress and Egress in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon and Aiding
and Abetting)

40 U.S.C. § 5104(e)(1)(A)

(Unlawful Possession of a Dangerous
Weapon on Capitol Grounds or Buildings)
40 U.S.C. § 5104(e)(2)(A)

(Entering and Remaining on the Floor of
Congress)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. §§ 5104(e)(2)(E), 2

(Impeding Passage Through the Capitol
Grounds or Buildings and Aiding and
Abetting)
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INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, JOSHUA
BLACK, attempted to, and did, corruptly obstruct, influence, and impede an official proceeding,
that is, a proceeding before Congress, by entering and remaining in the United States Capitol
without authority and engaging in disorderly and disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT TWO
On or about January 6, 2021, within the District of Columbia, JOSHUA BLACK,
unlawfully and knowingly entered and remained in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President and Vice President-elect were temporarily visiting, without
lawful authority to do so, and, during and in relation to the offense, did use and carry a deadly and
dangerous weapon, that is, a knife.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1) and

(b)(1)(A))
COUNT THREE

On or about January 6, 2021, in the District of Columbia, JOSHUA BLACK, knowingly,
and with intent to impede and disrupt the orderly conduct of Government business and official
functions, engaged in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President and Vice President-
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elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions.
(Disorderly and Disruptive Conduct in a Restricted Building or Grounds With a
Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections
1752(a)(2) and (b)(1)(A))
COUNT FOUR
On or about January 6, 2021, in the District of Columbia, JOSHUA BLACK, knowingly,
and with intent to impede and disrupt the orderly conduct of Government business and official
functions, obstructed and impeded ingress and egress to and from a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President and Vice President-elect were temporarily
visiting.
(Impeding Ingress and Egress in a Restricted Building or Grounds With a Deadly or
Dangerous Weapon and Aiding and Abetting, in violation of Title 18, United States
Code, Sections 1752(a)(3) and (b)(1)(A) and 2)
COUNT FIVE
On or about January 6, 2021, within the District of Columbia, JOSHUA BLACK, carried

and had readily accessible a dangerous weapon, that is, a knife, on the United States Capitol

Grounds and in any of the Capitol Buildings.

(Unlawful Possession of a Dangerous Weapon on Capitol Grounds or Buildings, in
violation of Title 40, United States Code, Section 5104(e)(1)(A))

COUNT SIX
On or about January 6, 2021, in the District of Columbia, JOSHUA BLACK, willfully
and knowingly entered and remained on the floor of a House of Congress and in any cloakroom
and lobby adjacent to that floor, without authorization to do so.

(Entering and Remaining on the Floor of Congress, in violation of Title 40, United

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States Code, Section 5104(e)(2)(A))
COUNT SEVEN
On or about January 6, 2021, in the District of Columbia, JOSHUA BLACK, willfully
and knowingly engaged in disorderly and disruptive conduct in any of the Capitol Buildings with
the intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either
House of Congress, and the orderly conduct in that building of a hearing before or any deliberation
of, a committee of Congress or either House of Congress,

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT EIGHT
On or about January 6, 2021, in the District of Columbia, JOSHUA BLACK, willfully
and knowingly obstructed, and impeded passage through and within, the United States Capitol
Grounds and any of the Capitol Buildings.

(Impeding Passage Through the Capitol Grounds or Buildings and Aiding and
Abetting, in violation of Title 40, United States Code, Sections 5104(e)(2)(E) and 2)

A TRUE BILL:

FOREPERSON.

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MICHAEL R. SHERWIN
ACTING ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA

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